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                   EXHIBIT 4
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Tupja, Kristel (Phila)

From:                               Stefania Maurizi <info@stefaniamaurizi.it>
Sent:                               Tuesday, July 16, 2019 10:08 AM
To:                                 FOIA Status
Subject:                            Re: Italian journalist: my FOIA request (Case Control Number F-2018-00964)

Importance:                         High


Thank you for your reply. Unfortunately, I have been waiting almost a year and a half...

Stefania Maurizi



Il 15/07/2019 21:38, FOIA Status ha scritto:

       Dear Ms. Maurizi,

       This is in reference to your email below concerning your Freedom of Information Act (FOIA) case control number
       F-2018-00964. Your request is in process. You will be notified of the results of the Department’s search and review
       efforts in response to this request as soon as that information becomes available. We truly appreciate your continued
       patience.

       If you have any questions, please contact the FOIA Requester Service Center (FRSC) at (202) 261-8484, or fax us at
       (202) 261-8579 or send an e-mail to foiastatus@state.gov.

       Sincerely,

       U.S. Department of State
       FOIA Requester Service Center


       -----Original Message-----
       From: Stefania Maurizi
       Sent: Monday, July 15, 2019 1:02 PM
       To: FOIA Status
       Subject: Italian journalist: my FOIA request (Case Control Number F-2018-00964)
       Importance: High

       Dear Sir or Madam,

       My name is Stefania Maurizi and I am an Italian investigative journalist working for the major Italian daily la
       Repubblica, who filed a FOIA request on Julian Assange (Case Control Number F-2018-00964).

       I am emailing because, unfortunately, one year and 4 months after I filed my FOIA request, I still haven't heard from
       you at all, and this is seriously undermining my journalistic work.


       Could you please let me know when I am expected to get any feedback on my FOIA?

       Thank you for your reply.

       Kind regards,

       Stefania Maurizi (mobile: 0039 345 79 37 701)
                                                                 1
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